     Case 3:24-cv-07191-RFL     Document 46     Filed 06/09/25   Page 1 of 17



 1   Shawn R. Perez, Esq.
     California Bar No. 164228
 2
     Law Offices of Shawn R. Perez
 3   7121 W. Craig Road, #113-38
     Las Vegas, Nevada 89129
 4   (949) 492-9545 Telephone
 5   (702) 485-3977 Telephone
     shawn711@msn.com
 6
     Ariel Mitchell, Esq. (pro hac vice)
 7   The Law Office of Ariel Mitchell, P.A.
     500 NW 2nd Ave. #12864
 8   Miami, FL 33101
     Tel: (305) 903-5835
 9   ariel@arielesq.com
10   Attorneys for Plaintiffs
11                        UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA
12
     ASHLEY PARHAM,                    )
13   JANE DOE, and                     )                 Case No.: 3:24-cv-07191-RFL
     JOHN DOE                          )
14                                     )
                         Plaintiffs,   )
15   v.                                )                 PLAINTIFFS9 NOTICE OF
                                       )                 MOTION AND MOTION TO
16                                     )                 PROCEED UNDER
     SEAN COMBS a/k/a                  )                 PSEUDONYM, MEMORANDUM
17   <P. Diddy,= <Puff Daddy,= <Love,= )                 OF POINTS AND AUTHORITY
     <Puffy= and <Diddy,=              )
18   KRISTINA KHORRAM,                 )
     SHANE PEARCE,                     )
19   RUBEN VALDEZ,                     )
     JOHN PELLETIER,                   )
20   ODELL BECKHAM JR.,                )
     DREW DESBORDES a/k/a <Druski,= )
21   JACQUELYN WRIGHT a/k/a <Jaguar )
     Wright=, HELENA HARRIS-SCOTT, )
22   MATIAS GONZALEZ,                  )
     BRANDI CUNNINGHAM,                )
23   JANICE COMBS,                     )
     KEITH LUCKS a/k/a <Big Homie CC,= )
24   and JOHN and JANE DOES 1-10       )
                                       )
25                       Defendants.
26

27

28

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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2                                         I. STATEMENT OF THE ISSUES

 3               Plaintiffs John and Jane Doe are sex trafficking victims who have joined named Plaintiff,

 4   Ashley Parham, in her complaint against Defendants and respectfully moves this Honorable Court
 5
     for an order allowing Plaintiffs to proceed under pseudonym. This motion is made on the grounds
 6
     that Plaintiffs have a legitimate and continuing fear that their safety is at risk with pursuing this
 7
     case and is vulnerable to retaliation by their traffickers. See Declaration of Jane and John Does in
 8
     Support of Motion to Proceed under Pseudonym (hereinafter, <Declaration of Does=). Also, this
 9

10   case involves highly sensitive information and, therefore, Plaintiffs have a reasonable privacy

11   interest in keeping their identity confidential. Additionally, allowing Plaintiffs to proceed under
12   pseudonym will not prejudice Defendants, and there is significant public interest in protecting
13
     Plaintiffs9 name and identity to protect the identity as victims of sex trafficking in this case.
14

15                                                 II. RELEVANT FACTS

16               Plaintiff, Ashley Parham, first filed her Original Complaint on October 15, 2024, against

17   Defendants Sean Combs (<Diddy=), Kristina Khorram (<KK=), Shane Pearce and unnamed John
18   and Jane Does1 for violations of Federal Trafficking United States Codes. Plaintiff then amended
19
     her complaint on March 13, 2025,2 adding additional Plaintiffs, John and Jane Does, and
20
     identifying previously named John and Jane Doe Defendants. Since the timeframe alleged in her
21
     complaint, Defendant Combs has been arrested, charged and is currently on trial for criminal
22

23   RICO violations and trafficking.3 Defendant Khorram has been identified by several victims

24   during Defendant Combs9 criminal trial, in their testimony for the prosecution, of her involvement

25

26   1
         ECF 1
27   2
         ECF 19

28   3
         United States v. Combs, 24-cr-542 (AS).


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 1   in the trafficking enterprise masterminded by Defendant Combs.4 Upon permission, in order to

 2   pursue Plaintiffs claims in its amended complaint Plaintiffs now ask the Court to allow them to
 3
     proceed pseudonymously in this action.
 4

 5                                                  III. ARGUMENT

 6              While the Federal Rules of Civil Procedure neither explicitly authorize nor prohibit the use

 7   of fictitious names by plaintiffs or other parties, pseudonyms are allowed in certain circumstances.
 8   The Ninth Circuit allows <parties to use pseudonyms in the unusual case when nondisclosure of
 9
     the party9s identity is necessary...to protect a person from harassment, injury, ridicule or personal
10
     embarrassment.= Does I Thru XXIII v. Advanced Textile Corp. 214 FR.3d 1058 (9th Cir. 2000).
11
     Specifically, <a party may preserve his or her anonymity in judicial proceedings in special
12

13   circumstances when the party9s need for anonymity outweighs prejudice to the opposing party and

14   the public9s interest in knowing the party9s identity.= Id. at 1067. When <pseudonyms are used to

15   shield the anonymous party from retaliation, the district court should determine the need for
16   anonymity by evaluating the following factors: (1) the severity of threatened harm; (2) the
17
     reasonableness of the anonymous party9s fears; and (3) the anonymous party9s vulnerability to
18
     such retaliation.= Id. at 1068. The court must consider <whether the public9s interest in the case
19
     would be best served by requiring the litigants to reveal their identities.= Id. <The court must also
20

21   determine the precise prejudice at each stage of the proceedings to the opposing party, and whether

22   proceedings may be structured...to mitigate that prejudice.= Id.

23
                                                    A. Public Interest
24
                First, whether or not the parties disclose Plaintiffs full name does not impact the public
25
     interest. The public interest in knowing the parties9 identities is not threatened where, as here, there
26

27

28   4
         United States v. Combs, 24-cr-542 (AS) Testimony Cassie Ventura, <Mia= ( a pseudonym), and Bryana Bongolan.


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 1   is nothing about the Plaintiff9s identity that makes it <critical to the working of justice= and the

 2   basic facts of the case will be on public record. Jane Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp.
 3
     3d 990, 997 (N.D. Cal. 2015) (holding that the public interest is not threatened because there was
 4
     nothing important about the plaintiff9s identity alone and the facts of the case would be on public
 5
     record). The highly sensitive facts of this case implicate both Plaintiffs legitimate privacy interests.
 6
     see Declaration of Does at para. 15.
 7

 8
             As explained in Jane Roes 1-2, the public interest is not threatened here as Plaintiffs
 9
     identity is not <critical to the working of justice.= The facts of this case will be on public record
10
     and the full disclosure of Plaintiffs identity will not aid Defendants in discovering facts related to
11

12   this case.

13
                                       B. Severity of Threatened Harm
14
             The severity of threatened harm should be evaluated based upon whether or not
15
     <divulg[ing] personal information of the utmost intimacy= and <reveal[ing] facts of a highly
16
     personal nature ...cause damage to... [a person9s] good name[] and reputation.= Southern Methodist
17

18   University Ass9n of Women Law Students v. Wynne & Jaffe, 559 F.2d, 707, 73 (5th Cir. 1979). In

19   addition, pseudonyms are allowed <when nondisclosure of the party9s identity is necessary... to

20   protect a person from harassment, injury, ridicule or personal embarrassment.= Does I thru XXIII,
21   214 F.3d at 1067368. Threats of physical harm present in the case further support the need for
22
     anonymity. See Doe v. Github, Inc., 672 F. Supp. 3d 837, 852 (N.D. Cal. 2023). In Doe v. Github,
23
     the Plaintiffs sought to proceed under pseudonym due to threats of physical violence and other
24
     severe harm. Id. Thus, the Court may consider the nature of harm when considering the severity of
25

26   harm. That the facts of a sex trafficking case involve information of a highly personal nature is

27   uncontroverted. Plaintiffs attest that the traffickers hurt them, controlled them, and put them in

28   constant fear for their lives and their safety. See Declaration of Does at paras. 5, 8-14. It is

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 1   reasonable that Plaintiffs fears for their safety considering the lengths they have gone through to

 2   protect themselves from the traffickers including changing their legal names and moving to a
 3
     remote area. See id. at paras. 7-8. Plaintiffs are reasonably scared of their traffickers and affiliates,
 4
     whom they presume to be gang members, and they want to keep their name out of the public light
 5
     during discovery. See id. at paras. 4-5, 15. Plaintiffs9 privacy concerns regarding revealing their
 6
     identities are genuine. Allowing Plaintiffs to proceed by pseudonym will mitigate the unnecessary
 7

 8   stress of having their name disclosed repeatedly to the public in conjunction with this case. This is

 9   a reasonable fear due to the high-profile nature of this matter as one of the Defendants is currently
10   on criminal trial for acts eerily similar in nature to the acts alleged in Plaintiffs complaint.5 Further,
11
     other Defendants have been named during those criminal proceedings adding to Plaintiffs
12
     reasonable fear of unnecessary stress and possibly being recaptured by the traffickers.
13

14                                            C. Vulnerability to Retaliation
15              The Plaintiffs vulnerability to retaliation should also be considered by the Court. In
16   Advanced Textile the Court noted that the Plaintiff9s highly vulnerable status contributed to the
17   reasonableness of their fear of severe retaliation. Does I thru XXIII, 214 F.3d at 1069.
18

19              Plaintiffs are particularly vulnerable to retaliation as the victims of sex trafficking. See

20   Declaration of Does at paras. 2-15. It is common knowledge that traffickers are frequently linked

21   to organized criminal networks which can resort to intimidation, threats, and violence against those
22   who may challenge their operations. Plaintiffs understood that the people who were controlled
23
     Defendant Combs would hurt or kill Plaintiffs if they came forward. See id. at paras. 5-6, 13. There
24
     is currently an ongoing criminal trial against Defendant Combs where evidence has shown he is
25
     physically violent and may be prone to retaliate.6 Plaintiffs have overwhelming fear and anxiety
26

27
     5
         United States v. Combs, 24-cr-542 (AS)
28   6
         United States v. Combs, 24-cr-542 (AS) Testimony of several witnesses including: Cassie Ventura, Kid Cudi, Bryana

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 1   that the same people who hurt them before will find them again and kill them. See id. at paras. 8-9.

 2   Plaintiffs9 declaration reflects Plaintiffs9 reasonable fear of retaliation by Defendants traffickers.
 3
     This fear does not disappear just because Defendant Combs is incarcerated and on trial.
 4

 5                                     D. Absence of Prejudice to the Defendants

 6           Defendants will not be prejudiced by Plaintiffs John and Jane Doe proceeding under

 7   pseudonym. First, there is already a named Plaintiff in this dispute. Second, Plaintiffs are known to
 8   certain Defendants as they have kidnapped and trafficked them on multiple occasions. Plaintiffs
 9
     proceeding under pseudonym does not impact the Defendants9 ability to access any evidence. The
10
     disclosure of Plaintiffs full name to the public does not aid in Defendants9 defense. This case
11
     concerns Defendants9 facilitation of Plaintiffs trafficking, which is unrelated to Plaintiffs true
12

13   identity information. Yet, the highly sensitive subject matter involved in this case will impact

14   Plaintiffs9 safety and privacy concerns.

15
                                                 IV . CONCLUSION
16
             Allowing Jane and John Does to proceed under pseudonym will not only protect their
17
     safety and adequately address their legitimate privacy concerns, but also facilitate the protection of
18

19   their true identity information as confidential. There is a fundamental privacy interest in protecting

20   sex trafficking victims and their identity and allowing Jane and John Does to proceed

21   pseudonymously facilitates this end. Therefore, Plaintiffs respectfully requests that this Court
22   allow them to proceed in the above-captioned matter using a pseudonym.
23

24   Dated: June 8, 2025                                            RESPECTFULLY SUBMITTED,

25                                                                                   /s/ Shawn Perez, Esq.

26                                                                                  /s/ Ariel Mitchell, Esq.
27

28   Bongolan, Capricorn Clark, etc.


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 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that this document has been or will be filed through the ECF system, and

 3   notice will be sent via the ECF system. By filing the within document on the CourtÕs Electronic
 4
     Case Filing System, I am informed and believe that the documents will be electronically served on
 5
     all individuals registered with such system. To my knowledge, every individual to whom notice is
 6
     required is registered with this system and, thus, has been served with due notice by action of this
 7
     electronic filing.
 8

 9
             I declare under penalty of perjury under the laws of the State of California that the above
10
     statements are true and correct.
11

12   Dated: June 8, 2025                                                  Respectfully submitted,
13                                                                                 /s/ Shawn Perez, Esq.
14                                                                                /s/ Ariel Mitchell, Esq.
15

16

17

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24

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26

27

28

                                            Page 7 of 17
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 1   Shawn R. Perez, Esq.
     California Bar No. 164228
 2
     Law Offices of Shawn R. Perez
 3   7121 W. Craig Road, #113-38
     Las Vegas, Nevada 89129
 4   (949) 492-9545 Telephone
 5   (702) 485-3977 Telephone
     shawn711@msn.com
 6
     Ariel Mitchell, Esq. (pro hac vice)
 7   The Law Office of Ariel Mitchell, P.A.
     500 NW 2nd Ave. #12864
 8   Miami, FL 33101
     Tel: (305) 903-5835
 9   ariel@arielesq.com
10   Attorneys for Plaintiffs
11                         UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF CALIFORNIA
12
     ASHLEY PARHAM,                    )
13   JANE DOE, and                     )                       Case No.: 3:24-cv-07191-RFL
     JOHN DOE                          )
14                                     )
                         Plaintiffs,   )
15   v.                                )
                                       )                       DECLARATION OF JANE DOE
16                                     )                       IN SUPPORT OF MOTION TO
     SEAN COMBS a/k/a                  )                       PROCEED UNDER
17   <P. Diddy,= <Puff Daddy,= <Love,= )                       PSEUDOYNM
     <Puffy= and <Diddy,=              )
18   KRISTINA KHORRAM,                 )
     SHANE PEARCE,                     )
19   RUBEN VALDEZ,                     )
     JOHN PELLETIER,                   )
20   ODELL BECKHAM JR.,                )
     DREW DESBORDES a/k/a <Druski,= )
21   JACQUELYN WRIGHT a/k/a <Jaguar )
     Wright=, HELENA HARRIS-SCOTT, )
22   MATIAS GONZALEZ,                  )
     BRANDI CUNNINGHAM,                )
23   JANICE COMBS,                     )
     KEITH LUCKS a/k/a <Big Homie CC,= )
24   and JOHN and JANE DOES 1-10       )
                                       )
25                       Defendants.
26

27   I, Jane Doe, declare and certify as follows:

28      1. I am the Plaintiff in the above styled cause.

                                            Page 8 of 17
     Case 3:24-cv-07191-RFL         Document 46        Filed 06/09/25       Page 9 of 17



 1      2. I have been a victim of sex trafficking, on multiple occasions, at the hands of the

 2         Defendants in this matter.
 3
        3. I have been kidnapped by Defendants in this matter.
 4

 5
        4. Based on my understanding and interactions with Defendants in this matter, I believe that
 6
           the Defendants were members of a gang involving sex trafficking and kidnapping.
 7

 8      5. The people who trafficked and exploited me physically bound me, transported me against

 9         my will, beat me and forced me to engage in unwanted sexual activity. The traffickers have
10
           threatened to kill me during these trafficking episodes.
11

12      6. I was trafficked at the direction of Defendant Combs. The co-Defendants named within our

13         complaint hurt me and threatened to kill me during the times I was trafficked by them.
14
        7. In order to evade Defendants I have changed my name, live in a remote location and hide
15
           my person while in public.
16

17
        8. I remain fearful for my life and my son9s life, John Doe because the people who trafficked
18
           and exploited us continue to find us. We recently had someone on our remote property
19
           taking pictures and believe that individual was connected with one of the Defendants in this
20
           matter.
21

22
        9. I have overwhelming fear and anxiety that the same people who trafficked me before will
23
           find me and would kill me next.
24

25      10. I believe that the one of the Defendants and/or their affiliates sent that individual to search
26         for John Doe and I in order to threaten and intimidate us.
27

28

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     Case 3:24-cv-07191-RFL           Document 46     Filed 06/09/25      Page 10 of 17



 1      11. John Doe and I live in constant fear of the people, Defendants in this matter who harmed

 2          and exploited us and the people who worked with Defendant Combs to aid him in his
 3
            criminal activity.
 4

 5      12. Defendant Combs is currently on criminal trial for acts related to threatening harm, and

 6          actually inflicting harm, on others who went against him.
 7
        13. Throughout Defendant Combs9 criminal trial, which has been highly publicized, I
 8
            continued to learn about the violent actions, harms and injuries that Defendant Combs has
 9

10          inflicted on others and his graphic sexual exploitation of others.

11
        14. I became increasingly fearful about my safety, so much so that I have become reclusive and
12
            am afraid to venture out of my remote location for anything not rising to an emergency.
13

14      15. Both my safety and privacy are important to me, and so having my real name disclosed
15
            repeatedly in connection with the sensitive facts of this case will undoubtedly cause me
16
            hardship and great stress.
17

18      16. Please allow me to proceed under the pseudonym Jane Doe for my safety and privacy in
19          this case.
20
        I declare under the penalty of perjury under the laws of the United States of America that the
21
     foregoing is true and correct.
22

23
     Dated: June 8, 2024
24
                                                                        RESPECTFULLY SUBMITTED,
25
                                                                                            /s/Jane Doe
26
                                                                                               Plaintiff
27

28

                                           Page 10 of 17
     Case 3:24-cv-07191-RFL         Document 46      Filed 06/09/25   Page 11 of 17



 1   Shawn R. Perez, Esq.
     California Bar No. 164228
 2
     Law Offices of Shawn R. Perez
 3   7121 W. Craig Road, #113-38
     Las Vegas, Nevada 89129
 4   (949) 492-9545 Telephone
 5   (702) 485-3977 Telephone
     shawn711@msn.com
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     Ariel Mitchell, Esq. (pro hac vice)
 7   The Law Office of Ariel Mitchell, P.A.
     500 NW 2nd Ave. #12864
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     ASHLEY PARHAM,                    )
13   JANE DOE, and                     )                       Case No.: 3:24-cv-07191-RFL
     JOHN DOE                          )
14                                     )
                         Plaintiffs,   )
15   v.                                )
                                       )                       DECLARATION OF JOHN
16                                     )                       DOE IN SUPPORT OF
     SEAN COMBS a/k/a                  )                       MOTION TO PROCEED
17   <P. Diddy,= <Puff Daddy,= <Love,= )                       UNDER PSEUDOYNM
     <Puffy= and <Diddy,=              )
18   KRISTINA KHORRAM,                 )
     SHANE PEARCE,                     )
19   RUBEN VALDEZ,                     )
     JOHN PELLETIER,                   )
20   ODELL BECKHAM JR.,                )
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21   JACQUELYN WRIGHT a/k/a <Jaguar )
     Wright=, HELENA HARRIS-SCOTT, )
22   MATIAS GONZALEZ,                  )
     BRANDI CUNNINGHAM,                )
23   JANICE COMBS,                     )
     KEITH LUCKS a/k/a <Big Homie CC,= )
24   and JOHN and JANE DOES 1-10       )
                                       )
25                       Defendants.
26
     I, John Doe, declare and certify as follows:
27
        1. I am the Plaintiff in the above styled cause.
28

                                            Page 11 of 17
     Case 3:24-cv-07191-RFL        Document 46         Filed 06/09/25      Page 12 of 17



 1      2. I have been a victim of sex trafficking, on multiple occasions, at the hands of the

 2         Defendants in this matter.
 3
        3. I have been kidnapped by Defendants in this matter.
 4

 5
        4. Based on my understanding and interactions with Defendants in this matter, I believe that
 6
           the Defendants were members of a gang involving sex trafficking and kidnapping.
 7

 8      5. The people who trafficked and exploited me physically bound me, transported me against

 9         my will, beat me and forced me to engage in unwanted sexual activity. The traffickers have
10
           threatened to kill me during these trafficking episodes.
11

12      6. I was trafficked at the direction of Defendant Combs. The co-Defendants named within our

13         complaint hurt me and threatened to kill me during the times I was trafficked by them.
14
        7. In order to evade Defendants I have changed my name, live in a remote location and hide
15
           my person while in public.
16

17
        8. I remain fearful for my life and my mother9s life, Jane Doe because the people who
18
           trafficked and exploited us continue to find us. We recently had someone on our remote
19
           property taking pictures and believe that individual was connected with one of the
20
           Defendants in this matter.
21

22
        9. I have overwhelming fear and anxiety that the same people who trafficked me before will
23
           find me and would kill me next.
24

25      10. I believe that the one of the Defendants and/or their affiliates sent that individual to search
26         for Jane Doe and I in order to threaten and intimidate us.
27

28

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     Case 3:24-cv-07191-RFL           Document 46     Filed 06/09/25      Page 13 of 17



 1      11. Jane Doe and I live in constant fear of the people, Defendants in this matter. who harmed

 2          and exploited us and the people who worked with Defendant Combs to aid him in his
 3
            criminal activity.
 4

 5      12. Defendant Combs is currently on criminal trial for acts related to threatening harm, and

 6          actually inflicting harm, on others who went against him.
 7
        13. Throughout Defendant Combs9 criminal trial, which has been highly publicized, I
 8
            continued to learn about the violent actions, harms and injuries that Defendant Combs has
 9

10          inflicted on others and his graphic sexual exploitation of others.

11
        14. I became increasingly fearful about my safety, so much so that I have become reclusive and
12
            am afraid to venture out of my remote location for anything not rising to an emergency.
13

14      15. Both my safety and privacy are important to me, and so having my real name disclosed
15
            repeatedly in connection with the sensitive facts of this case will undoubtedly cause me
16
            hardship and great stress.
17

18      16. Please allow me to proceed under the pseudonym John Doe for my safety and privacy in
19          this case.
20
     I declare under the penalty of perjury under the laws of the United States of America that the
21
     foregoing is true and correct.
22

23
     Dated: June 8, 2024
24
                                                                        RESPECTFULLY SUBMITTED,
25
                                                                                             /s/John Doe
26
                                                                                                 Plaintiff
27

28

                                           Page 13 of 17
     Case 3:24-cv-07191-RFL       Document 46     Filed 06/09/25   Page 14 of 17



 1   Shawn R. Perez, Esq.
     Nevada Bar No. 10421
 2
     Law Offices of Shawn R. Perez
 3   7121 W. Craig Road, #113-38
     Las Vegas, Nevada 89129
 4   (949) 492-9545 Telephone
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     Tel: (305) 903-5835
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13   JANE DOE, and                            )             Case No.: 3:24-cv-07191-RFL
     JOHN DOE                                 )
14                                            )
                          Plaintiffs,         )
15   v.                                       )
16                                            )             [PROPOSED] ORDER
                                       )
17                                     )
     SEAN COMBS a/k/a                  )
18   <P. Diddy,= <Puff Daddy,= <Love,= )
     <Puffy= and <Diddy,=              )
19   KRISTINA KHORRAM,                 )
     SHANE PEARCE,                     )
20   RUBEN VALDEZ,                     )
     JOHN PELLETIER,                   )
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23   MATIAS GONZALEZ,                  )
     BRANDI CUNNINGHAM,                )
24   JANICE COMBS,                     )
     KEITH LUCKS a/k/a <Big Homie CC,= )
25   and JOHN and JANE DOES 1-10       )
                                       )
26                       Defendants.
27

28

                                        Page 14 of 17
     Case 3:24-cv-07191-RFL         Document 46        Filed 06/09/25       Page 15 of 17



 1                                                  ORDER

 2          Sex trafficking victims Jane and John Does brought this action, in connection with a named
 3   Plaintiff Ashley Parham, under the Trafficking Victims Protection Reauthorization Act
 4
     (<TVPRA=), 18 U.S.C. § 1589 et seq., alleging that Defendants profited from sex trafficking
 5
     scheme conducted under the direction of Defendant Combs and executed by his employees. See
 6
     Amend. Compl., ECF 19. Plaintiffs John and Jane Does were added in an amended complaint and
 7
     now moves for leave to proceed under a pseudonym.
 8

 9
            The Court finds Plaintiff9s motion to be suitable for decision without oral argument. See
10
     Civ. L.R. 7-1(b). Plaintiff9s motion is GRANTED without prejudice to Defendants9 assertion of
11
     objections to Plaintiff9s continued use of a pseudonym if and when the case goes to trial.
12

13                                         I. LEGAL STANDARD
14
            Federal Rule of Civil Procedure 10 requires that <[t]he title of the complaint must name all
15

16   the parties[.]= Fed. R. Civ. P. 10(a). However, <[i]n this circuit, we allow parties to use

17   pseudonyms in the unusual case when nondisclosure of the party9s identity is necessary to protect a
18   person from harassment, injury, ridicule or personal embarrassment.= Does I thru XXIII v.
19
     Advanced Textile Corp., 214 F.3d 1058, 1067-68 (9th Cir. 2000). To test whether use of a fictious
20
     name is appropriate, courts ask whether <the party9s need for anonymity outweighs prejudice to the
21
     opposing party and the public9s interest in knowing the party9s identity.= Id. at 1068.
22

23          Where a party seeks leave to proceed under a pseudonym because of a fear of retaliation,
24
     the district court should consider the following factors: (1) <the severity of the threatened harm=;
25
     (2) <the reasonableness of the anonymous party9s fears=; and (3) <the anonymous party9s
26
     vulnerability to such retaliation[.]= Advanced Textile Corp., 214 F.3d at 1068 (citations omitted).
27

28                                             II. DISCUSSION

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 1              Plaintiffs seek leave to proceed under a pseudonym to protect sensitive information

 2   regarding the sex trafficking of themselves, and to protect themselves against retaliation from the
 3
     traffickers or persons associated with them. Plaintiffs have filed a declaration stating that she
 4
     believes the persons who trafficked them were members of a gang; the traffickers terrified and
 5
     physically harmed them; and the traffickers threatened the lives of Plaintiffs during trafficking
 6
     episodes. Decl. of Jane and John Does. ¶¶ 2-15, ECF ____. Plaintiffs states that they wishes to use
 7

 8   Jane and John Doe as a pseudonym to protect her safety and privacy while litigating this case. See

 9   id. ¶15.
10
                The Court finds that Plaintiff9s desire to protect sensitive information about their sex
11

12   trafficking, as well as her fear of retaliation, constitute adequate bases to grant their request for

13   leave to proceed under a pseudonym. Disclosure of Plaintiff9s name in connection with details

14   about the victimization of the Does could subject Plaintiffs to ridicule or personal embarrassment.
15   Moreover, Plaintiffs have established a reasonable fear of physical harm and they appear to be
16
     vulnerable to retaliation given their reasonable belief that the traffickers or their associates know
17
     what they look like.
18

19              There is no prejudice to Defendants in allowing Plaintiffs to use a pseudonym at this stage
20   of the proceedings. Finally, it is the Court9s view that the public9s interest in the case can be
21
     satisfied without revealing Plaintiffs9 identity. The key allegations and arguments in the case will
22
     not be enhanced by knowledge of Plaintiffs9 names. Other district courts have allowed use of a
23
     pseudonym where <[t]here is nothing about the Plaintiffs9 identities that makes it critical to the
24

25   working of justice to reveal those identities.= Jane Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d

26   990, 996 (N.D. Cal. 2015). The Ninth Circuit argued in Advanced Textile Corp., that the prior

27   disclosure of some plaintiffs9 names did not refute evidence that they had a reasonable fear of
28
     retaliation, and that <whatever knowledge defendants have of plaintiffs9 identities only lessens

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 1   their claims to be prejudiced by the use of pseudonyms.= Advanced Textile Corp., 214 F.3d at 1069

 2   n.11. The Court must <determine the precise prejudice at each stage of the proceedings to the
 3
     opposing party.= Advanced Textile Corp., 214 F.3d at 1068. In the event this case goes to trial,
 4
     Defendants may assert any objections to Plaintiff9s continued use of a pseudonym.
 5

 6           In summary, the Court concludes that at this stage of the proceedings, Plaintiffs9 <need for
 7   anonymity outweighs prejudice to the opposing party and the public9s interest in knowing the
 8   party9s identity.= Advanced Textile Corp., 214 F.3d at 1068.

 9   III. ORDER

10       1. (1) Plaintiff9s motion to proceed under a pseudonym is GRANTED.

11       2. (2) Defendants may object to Plaintiff9s continued use of a pseudonym if and when this

12   case goes to trial.

13

14   Dated: ______________

15
                                                         By: ___________________________________
16
                                                                                         Hon. Rita F. Lin
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                                                                           U.S. District Magistrate Judge
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